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                 EXHIBIT 5

   FILED UNDER SEAL
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                                                               Page 1
                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                          SAN FRANCISCO DIVISION
                                    -oOo-
    WAYMO LLC,                       )
                                     )
                   Plaintiff ,       )
                                     )
       vs.                           ) Case No: 3:17-cv-00939-WHA
                                     )
    UBER TECHNOLOGIES, INC.,         )
    OTTOMOTTO LLC, OTTO TRUCKING,)
    LLC,                             )
                                     )
                   Defendants.       )
                                     )


                    CONFIDENTIAL - ATTORNEYS' EYES ONLY
                  VIDEOTAPED DEPOSITION OF DANIEL GRUVER
                         San Francisco, California
                         Thursday, April 20, 2017




    Reported by:
    LISA R. TOW
    CSR No. 6629
    Job No. 2599857


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                                                               Page 51
 1          Q.    Are you aware whether             used a

2    similar design?

 3          A.    I don't recall.

4           Q.    Are you aware of any other lidar

5    devices that use                                ?

 6          A.    I am.

7           Q.    What are they?

8           A.

 9          Q.    And what do they use

10                        ?

11          A.    I don't know.

12          Q.    What is the context in which

13

14          A.    The edge of the diode

15

16          Q.    For what type of PCB?

17          A.    Sorry. Clarify.

18          Q.    Well, like in what context is the

19   PCB used that you're referring to?

20          A.

                   .

22          Q.
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                                                               Page 52
 1

2           Q.    And that's one that you've

3    observed in connection with your work at

 4   Otto or Uber?

5           A.    Yes.

6           Q-    Is the              on the Fuji -- for

 7   the PCBs and Fuji that do have



 9          A.    I don't know.

10          Q.    Are you aware of any patents or

11   publications that disclose

12

13          A.    I'm not.

14          Q.    The Fuji design includes

15   transmit boards total; is that fair?

16          A.    That is.

17          Q.    And each of the

18   in the Fuji device includes

19                  ; is that correct?

20          A.    That is correct.

21          Q.    What's the benefit of that design?

22          A.    Of which design?

23          Q.    Of the -- of having

24
